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UNITED STATES DIsTRICT CoURT
Southern District of Florida

Palm Beach Marine Construction, Inc.,

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Plaintiff,
V.
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Jeffrey Epstein, FEB j
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S. w of FLA. - MlAwn MAGISTRATE J UDGE
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Plaintiff Palm Beach Marine Construction, lnc. (“PBMC” or “Plaintiff”) sues Defendant
Jeffrey Epstein (“Mr. Epstein” or “Defendant”) for Breach of Contract, Foreclosure of Lien, and
Quantum Meruit.

Mr. Epstein owes PBMC $lOS,OO0.00. He refuses to pay. PBMC, a marine contractor,
provides marine construction services, including the installation of pilings for mooring vessels,
and the dredging of fill to facilitate the movement of large boats, such as yachts.

PBMC installed pilings adjacent to Mr. Epstein’s dock. lt also dredged an enormous
quantity of fill from the lake behind Mr. Epstein’s house in the ToWn of Palm Beach.

Mr. Epstein has only paid $30,000.00 on a $120,000.()0 contract and refuses to accede to
PBMC’s repeated demands to pay the balance. PBMC has no other recourse but to file this suit
and enforce its claim of lien.

I. JURISDICTION AND VENUE

l. This Court has jurisdiction under 28 U.S.C § 1332. The Plaintiff and Defendant are
citizens of different States and the amount in controversy exceeds $75,000.00, exclusive
of prejudgment interest, costs, and attorney’s fees.

2. PBMC invokes both the legal and equitable jurisdiction of this Court.

ALEXANDER LIAN, P.A.
777 BRICKELL AvENUE, SUlTE 1210
MIAMI, FLORIDA 33131

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Venue is proper in this district. Plaintiff principal place of business is in Palm Beach
Countuy; Palm Beach County is also where the Defendant owns his vacation home,
where the parties executed the contract, and where the property which is the subject of
the contract is located.
II. PARTIES

PBMC is a registered Florida corporation At all material times, PBMC was qualified to perform
marine contracting services in Palm Beach County, Florida. For jurisdictional purposes, PBMC
is a citizen of the State of Florida.
Mr. Epstein is the owner of the property located 358 El Brillo Way, Palm Beach, Florida 33480
(“Property”). Upon information and belief, Mr. Epstein is a citizen, for jurisdictional purposes, of
the State of New York, or, alternately, a citizen of the United States Virgin Islands. Mr. Epstein
is over the age of eighteen and is otherwise sui juris.

III. GENERAL ALLEGATIONS
On or around August 8, 2008, PBMC, provided a written offer to Douglas Schoettle, Mr.
Epstein’s authorized representative, to perform the following work: (a) furnish and install eight
mooring piles, and (b) dredge and dispose of fill. (See Exhibit A).
The offer expressly stated the dredging and disposing of fill would have the following price term:
“$7,000.00 PER 50 YD HOPPER (MIN. 2 HOPPERS) ADDITIONAL DREDGING COSTS
WILL BE BILLED SEPARATELY @ 7,000 PER 50 YD HOPPER.” Id.
The written offer also provided that a 50% deposit was due on acceptance of the contract.
On or around August 28, 2008, Mr. Epstein paid PBMC a 50% deposit of $15,000.00 (in the form
of a check), thereby signifying his acceptance of the written offer. (See Exhibit B).
Upon Mr. Epstein’s acceptance, PBMC’s Written offer became a binding contract between the
parties.

PBMC furnished and installed the mooring piles as required under the contract.

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PBMC dredged and disposed of the fill taken from the lake behind Mr. Epstein’s Property, as
required under the contract.

The total amount of frll dredged from the lake behind Mr. Epstein’s Property equaled 17 hoppers.
PBMC properly invoiced, on or around September l9, 2008, Mr. Epstein (through his authorized
representative, Mr. Schoettle) for the 2 hopper minimum, as stated in the contract. (See Exhibit
C).

On or around October l, 2008, PBMC properly invoiced Mr. Epstein (through his authorized
representative, Mr. Schoettle) for the additional 15 hoppers of fill dredged and removed from the
lake behind Mr. Epstein’s Property. (See Exhibit D).

Mr. Epstein has only paid PBMC for the 2 hopper minimum.

Regardless of PBMC’s repeated demands, Mr. Epstein refuses to pay the $105,000.00 owed for
the additional 15 hoppers, despite acknowledging that PBMC has performed the work (receipts
and invoices from third parties showing that the work has been performed were given to Mr.
Epstein’ s representatives).

PBMC fully performed its obligations under the contract.

The last item of labor, services, and materials required for the improvements upon the Property
was furnished on or around October l, 2008.

PBMC has retained the undersigned counsel to sue Mr. Epstein and is obligated to pay
undersigned counsel a reasonable fee. PBMC is entitled to recover its attorney’s fees pursuant to
Fla. Stat. § 713.29 and the contract between the parties.

PBMC is entitled to prejudgment interest at the maximum rate provided under Florida law, as
stated in the contract. (See Exhibit A).

PBMC has satisfied all conditions precedent for suit, or such conditions precedent have occurred

or have been waived.

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IV. CAUSES OF ACTION

Count I -- Action to Foreclose on Claim of Lien
PBMC restates paragraphs l through 22.
This is an action to foreclose a construction lien.
On October 2(), 2008, PBMC recorded a Claim of Lien for $120,000.00 on the Property.
The Claim of Lien was recorded in the Public Records of Palm Beach County, OR BK 22913 PG
1400.l (Exhibit E.)
This Complaint incorporates the Property description in the Claim of Lien. (Exhibit E.)
PBMC delivered the Claim of Lien to Mr. Epstein and (or) to his authorized representative, Mr.
Schoettle, in the time required under Chapter 713, FLORIDA STATUTES.
PBMC delivered its contractor’s affidavit to Mr. Epstein and (or) to his authorized representative,
Mr. Schoettle, in the time required under Chapter 713, FLORIDA STATUTES. (Exhibit F.)

PBMC has complied With all the requirements of Chapter 713, FLORIDA STATUTES.

WHEREFORE, PBMC requests that this Court:

a. 4 Recognize PBMC’s Claim of Lien in the amount of $105,000.00, to be due

as of the date of the recording of the Claim of Lien, plus prejudgment interest at the

maximum rate allow under Florida law, plus costs, and plus attorney’s fees, as provided

in § 713.29 and under the contract;

b. Render a personal money judgment against Mr. Epstein;

c. Order the Property sold to pay PBMC’s lien, free and clear of Mr. Epstein’s claim upon
the Property; and,

d. Grant such other equitable relief as this Court deems just and proper.

 

l After PBMC recorded its Claim of Lien, Mr. Epstein tendered $lS,OO0.00 of the $120,000 claimed. PBMC signed
a Partial Satisfaction of Lien for the $15,000.00. The remaining amount of the claim of lien is SlO5,000.00.

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Count II _ Breach of Contract
PBMC restates paragraphs l through 22.
This is an action for breach of an express contract.
The parties entered into an express contract. (Exhibit A.)
The express contract is a valid contract.
Mr. Epstein materially breached the contract When he refused to pay PBMC the balance of the
contract price of $105,000.00.
Mr. Epstein’s material breach has damaged PBMC.
PBMC is entitled to recover its attorney’s fees under the contract.
WHEREFORE, PBMC requests that this Court:
(a) Enter judgment against Mr. Epstein personally for damages in the amount of
3105,000.00, plus prejudgment interest at the maximum rate allow under Florida law, plus costs,
and plus attorney’s fees as provided under the contract and § 7 l3.29; and,
(b) Grant such other relief as this Court deems just and proper.
Count III _ Quantum Mer'uit
PBMC restates paragraphs l through 22.
ln the alternative to its breach of express contract count, PBMC seeks the remedy of quantum
meruit, based Mr. Epstein’s breach of his implied-in-fact contract with PBMC.
PBMC and Mr. Epstein entered into an implied in-fact-contract.
Under the implied-in-fact contract between the parties, PBMC performed services that constituted
a permanent and valuable improvement to the Property.
As of the date of this Complaint, Mr. Epstein has willfully refused to pay for PBMC’s permanent
and valuable improvements to the Property, despite PBMC’s many demands
Mr. Epstein has breached the parties’ implied-in-fact contract.
Mr. Epstein’s breach as damaged PBMC.

PBMC is entitled to the reasonable value of its services.

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WHEREFORE, PBMC requests that this Court:

(a) Enter judgment against Mr. Epstein personally for damages in the amount of
$105,000.00, plus prejudgment interest at the maximum rate allow under Florida law, plus costs,
and plus attorney’s fees as provided under the contract and § 7l3.29; and,

(b) Grant such other relief as this Court deems just and proper.
Dated this llth day of February 2009.

Respectfully Subrnitted,

Alexander Lian (Florida Bar Number: 571271)
Attorney e-mail address: alian@alexanderlian.com
ALEXANDER LIAN, P.A.

777 Brickell Avenue, Suite 1210

Miami, Florida 33 l 31

Telephone: (305) 381-7910

Facsimile: (305) 381-7135

Attorney Palm Beach Marine Construction, Inc.

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EXHIBIT A

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West Pclm Bead\, FL 33405
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_ Estimate

 

Date

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Customer Phone Customer Fax

Customer A|t. Contact

 

 

 

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Descn`ption

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Total

 

WE PROPOSE TO FURN|SH 81 |NSTALL AS DESCR\BED BELOWx

> FURN|SH 8\ lN$¥ALL (8) 12' X 3 X 40' WOOD MOOR|NG PlLES CAPPPED W|TH FLAT
COPFER PlLlNG CAPS

> DREDGE AND D|$POSE OF Flle $7,000 PER 50 YD HOPFER (M|N. 2 HOPPERS)
ADDIT|ONAL DREDGlNG COSTS WlLL BE BlLLED SEPARATELY @ $7,000 PER 50 YD
HOPPER

NOTES:

ROCK PUNCHING, lF NECE$SARY, TO BE BlLLED @ $500.00 PER HOUR
PERM!T NOT lNCl.UDED

PR|C|NG lS GOOD FOR 30 DAYS

PAYMENT SCHEDUlE¢
50% DEFOS|T DUE ON ACCEPTANCE OF CONTRACT
BALANCE DUE UPON COMPLET|ON

2,000.00

7,000.00

 

 

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Slgncwro (Owner/Agent)¢ Dcte:

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$30,000.00

 

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AGREEMENT

This contract. dated August 8, 2008 ls between Pa|m Beach Marine Construction, lnc. ("PBMC“)
and Doug|as Schoettle ("Owner"). lt concerns improvements to the property located at 358 E|
Brillo Way. Pa|m Beach. FL 33480.

rn consideration of the mutual covenants contained in this agreement, PBMC and Owner (the
”parties") agree as follows:

i. Expiration of Estimate. The estimated price quotation (”quoted price") expires in thirty
days from the date of the quote. At any time after the expiration date, PBMC may, at its
sole option. agree to perform the work~specified at the quoted price.

2. Effectlve Date. Once the Owner and PBMC sign this estimate it becomes a contract
binding on both parties. The effective date is the date upon which the last party slgns.

3. Scope of Work. PBMC will perform only the work specified in this contract. The
specifications listed in this contract represent the partles' final understanding of the work
PBMC is to perform. This contract represents the entire and integrated agreement
between the parties and supersedes any prior negotiations, representations, or
agreements, either written or orai.

4. Quoted Price Fluctuatlons. The estimated price is subject to fluctuations due to (a) the
actual quantity of material used. (b) rock or other hard material, or (c) increases of over 296
in the cost of materials required to perform the specified work.

a. Owner understands and agrees that the quoted price represents an estimate of
the quantity of material required to perform the specified work. Owner further
understands and agrees that at the completion of the project the final amount
due to PBMC will be adjusted to reflect the actual quantity of material used.

b. |fl during performance of specified work. PBMC finds it necessary to punch or
remove rock, hardpan, or other impervious materlai, Owner understands and_
agrees that PBMC will charge Owner 5500.00 per hour to punch or remove the
rock, hardpan,. or other impervious materiai. Owner agrees to pay PBMC
$SC0.00 per hour for the punching or removal. Owner understands and agrees
that this charge is over and above the quoted price.

c. Owner understands and agrees that the quoted price is subject to any increase in
the price of materials in excess of 296 of the price of the materials on the date
upon which PBMC provided the quoted price. Owner understands and agrees that
at the completion of the project the final amount due to PBMC will be adjusted to
reflect any price increase of over S% ln the materials used to perform the
specified work.

5. Change Order. Owner agrees to compensate PBMC for any change order PBMC submits
for work. not specified in this contract. that PBMC does at Owner's verbal or written
request. Owner understands and agrees that the quoted price does not include any work.
other than specified in the contract. that Owner desires done.

6_. Termination Date. Owners understands and agrees that if by one year after the effective
date PBMC is unab|e, due to causes outside of its control, to commence the work
specified, the contract-except for this provision-terminates Owner will be entitled to a
refund of monies paid to PBMC minus PBMC’s incurred -expenses for any work done to
benefit the Owner or the ~Owner's property. "

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Sultable Work Site. Owner agrees to provide PBMC a suitable work site, Owner also
agrees to facilitate performance of the specified work by, among other things, providing
water, electricityl and suitable access. Owner understands that Owner's responsibility to
provide a suitable work site and to facilitate PMBC's performance of specified work is not
limited to solely providing the items listed.

Requlred Permits. Un|ess othen~ise provided in this agreement, Owner agrees Owner
will be responsible for acquiring all required permits for PBMC to perform the specified
work (or any work done under a change order). Examples of required permits include (but
are not limited to) any permits required by federal, state, or local agencies, governmental
entities, governing bodies, and those required by private associations, assemblies, or
communities. Owner agrees to indemnify PBMC for any penalties or fines PBMC incurs in
performing the specified work due to not having a required permlt.

Owner-caused Deiays. Owner understands and agrees that FBMC is not responsible or
accountable for work that other contractors (lnciuding subcontractors) have performed or
are performing on the work site. To the extent PBMC ls unable to perform the work
specified in the contract due to delays attributable to another project on the work site,
Owner understands and agrees that Owner is responsible for such delays. Owner agrees
to compensate PBMC for reasonable and direct costs associated with such delays. Owner
also agrees to compensate l’BMC for reasonable and direct costs associated with any other
delay for which the owner ls responsible

. Force Majeure. PBMC will undertake to complete the work specified in the contract in a

timely fashion. PBMC will not be liable for any direct or indirect damages to the
improvements or Owner's property, or for any direct or indirect delays in performing the
work specified, that result from force majeure, including. without |imitation, lhurricanes,
tornadoes, floods. firel or other catastrophic events.

.Past Due. Owner agrees that ali invoices are due upon receipt. PBMC will allow a ten (10)

.day grace period from date invoice is mailed to Owner. invoices past due will be assessed
interest at the maximum rate allowed by law.

Disputes. in the event of a dispute as to the interpretation or application or an alleged
breach of this contract, the parties agree that such dispute SHALL BE HEARD BY A
jUDGE, NOT A jURY, in Palm Beach County, Florida. The parties further agree the laws of
the State of Florida shall govern this contract. The prevailing party shall be entitled to
reasonabiii attorney's fees, including ali reasonable attorney's fees and costs related to
any appea s. '

Severabllity. The parties agree that if a court of competent jurisdiction finds any
provisions of this contract-or any part of any provision of this contract-invaiid. such
finding shall not affect the validity of any other provision or part of this contract.

Constructlon Lien Notice.

ACCORD|NG TO FLOR|DA'S CONSTRUCT|ON LlEN LAW (§§ 713.001 to
713.37, Fla. Stat.), THOSE WHO WORK ON YOUR PROPERTY OR PROV|DE
MATER_|ALS AND ARE NOT PAlD lN FULL HAVE A RlGHT TO ENFORCE
THE|R CLAIM FOR PAYMENT AGA|NST YOUR PROPERTY. TH|S CLA|M IS
KNCWN AS A CONSTRUCT|ON LlEN._ iF'YOU’RE CONTRACTOR OR A
SUBCONTRACTOR . FA|LS TO P'AY SUBUONTRAC`TORS, SUB-
SUBCONTRACTORS OR MATER|ALS SUFPL|ERS OR NEGLECTS TO MAKE

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OTHER LEGALLY REQU|RED PAYMENTS, THE PEOPLE WHO ARE OWED
MONEY MAY LOOK TO YOUR PROPERTY FOR PAYMENT, EVEN lF YOU
HAVE PA|D YOUR CONTRACTOR lN FULL lF YOU FA|L TO PAY YOUR
CONTRACTOR, YOUR CONTRACTOR MAY ALSO HAVE A LlEN ON YCUR
PROPERTY. THlS MEANS |F A LIEN lS FlLED YOUR PROPERTY COULD BE
SOLD AGA|NST YCUR WlLL TO PAY FOR LABOR, MATER|ALS, OR OTHER
SERV|CES THAT YCUR CONTRACTCR OR A SUBCONTRACTOR MAY
HAVE FA|LED TO PAY. FLOR|DA'S CONSTRUCTION LlEN LAW lS
COMPLEX AND lT IS RECOMMENDED THAT WHENEVER A SFEC|F|C
PROBLEM AR|SES, YOU CONSULT AN ATTORNEY.

Chapter 558 Notice of Claim.

CHAPTER 558, FLOR\DA STATUTES, CONTA|NS IMPORTANT
REQU|REMENTS YOU MUST FOLLOW BEFORE YOU MAY BR|NG ANY
LEGAL ACTION FOR AN ALLEGED CONSTRUCT|ON DEFECT. SlXTY DAYS
BEFORE YOU BR|NG ANY LEGAL ACT|ON, YOU MUST DEL|VER TO THE
OTHER PARTY TO TH|S CONTRACT A WR|TI'EN NOT|CE, REFERR|NG TO
CHAPTER 558, OF ANY CONSTRUCT|CN COND|T|ONS YOU ALLEGE ARE
DEFECT|VE AND PROV|DE SUCH PERSON THE OPPORTUNITY TO
lNSPECT THE ALLEGED CONSTRUCT|ON DEFECTS AND TO CONS|DER
MAK|NG AN OFFER TO REPA!R OR PAY FOR THE ALLEGED
CONSTRUCT|ON DEFECTS. YOU ARE NOT OBL|GATED TO ACCEPT ANY
OFFER WH|CH MAY B_E MADE. THERE ARE STRICT DEADL|NES AND
PROCEDURES UNDER TH|S FLOR|DA LAW WH|CH MUST BE MET AND
FOLLOWED TO PROTECT YOUR lNTERESTS. '

 

 

 

 

Palm Beach Marine Construction, lnc. Owner
By: By:
Name: Name:
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EXHIBIT B

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EXHIBIT C

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Palm Beach Marine Construction, Inc. lnvo lce
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West Palm Beach, FL 33405
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Douglas Schoettle Doug|as Schoettle
358 El Brillo Way 358 El Brillo Way
Palrn Beach. FL 33480 Palm Beach. FL 33480
P.O. Number Terms Rep Ship Via F.O.B. Project
Due on receipt 9/19/08
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EXHIBIT D

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West Palm Beach, FL 33405
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Palm Beech, FL 33480 Paim Beach, FL 33480
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CF'N 2098@382572
ClR BK 22913 PG 14025
RECORDED 10/20/2008 14:32:21

Paim Beach Marine Construction,lnc. Palw Beach Cmmi-Y, Florida
1410 Forsythe Road Sharon R. Bock, CLERX & CDHPTROLLER

West Paim Beach. FL 33405 ` Pg 1400; ilpg)

Return to:

CLAIM OF LIEN

To owner(s) Jet'frey Epstgin of the premises hereinafter described, and to ali interested parties
who may be concemed:

_You are hereby notified that Pgim Bgach Mgine Construction, lnc. hereinafter "Ciaimant"),
hereby claims a lien in the sum of 3120,000,09 plus interest and upon the following described

property, (provide legal description or Attach Exhibit A): _
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`P/a,-f 300 /c' q Pa.y‘¢ 7

together with ali improvements thereon.

This lien is recorded pursuant to FLORIDA Statutes and Claimant claims a lien upon said
property and improvements thereon in the amount aforesaid.

Signed and dated this 20ul ay of October 2008.

 

 

 

'~TA ' OF Florida
l o ty of Palm Beach

SUBSC_RIBED and SWORN TO before me on Qctober ZQ“‘, 2008 by

332 L ¢/L LQL¢gM.Q , who is personally known by me.
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lviy Commission ‘e)tpjfes: Notary Public: wu mma
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STATE OF FLOR\DA ' PALM BEACH OOUN`W

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EXHIBIT F

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CONTRACTOR'S FINAL- PAYMENT AI*`FII)AVIT

ST`ATE OF lTLORlDA
COUNTY OF PALM BEACH

Beforc ine, the undersigned authority personally appeared .i/\VIER QUEVEDO, who after being duly
sworn deposes and says of his or her personal knowledge the i`oilowing:

1. lie is the Prcsidi:ni. of Paini Beach lviarine Construction inc., which does business in the State of
f~`iorida, hereinafter referred to us the "Coniracior.“

2. Contracior pursuant lo n contract with chi`rcy Epstein hereinafter referred lo as ihe' Owncr,”

h1 is iurnished or caused lobe furnished lnboi', mulerinls, and services for the construction of certain
improvements to real property ns more particularly sci forth in said contract.

3. 'l`his affidavit is executed by the Conlriictor iii accordance with section 713.06 of the Florida
Sioiuics for the purposes of obtaining final payment from the Owner in the amount of

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4. Ail work to lie performed under the contract has been fully conipieicd, and all lienors under the
direct contract have been paid in fiill, except ihe following listed lieiiors'.

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Signcd, sealed, and delivered this 22 j %day of /i/L'gj{_/{.

 

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\Z/¢'_[_/_[_Q_" /4'¢/[_,23_/¢1 who is personally knownL/ lo mc, or produced _______ as identification
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Case 9:09-cV-80175-KLR Document 1 Entered on FLSD Docl<et O2/12/2009 Page 22 of 22

ms 44 (R¢v, 2/08)

CIVIL COVER

SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement thc filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This forrn, approved by the Judicial Conferencc of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

the civil docket shcct.

(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

 

I. (a) PLAINTIFFS

Palm Beach Marine Construction, lnc. C'V RYSKA M P

(b) County of Rcsidencc of First Listed Plaintiff Palm B€aCl'l COUHEX

(EXCEPT lN U.S. PLAINTlFF CASES)

DEFENDANTS
Jeffrey Epstein

County of Residence of First Listed Dcf
(1N u.s, PLAIN

 

(C) AUOm€y’S (Firm Namc, Address, and Telephonc Number)

Alexander Lian, P.A.
777 Brickell Avenue, Suite 1210 VITUNAC A“°meys(m‘“°“'“) FEB l l 2@§3
Miarni, Florida 33131 Chester Brewer

- 175-

MAGISTRATE JUDGE

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NOTE: lN LAND CONDEMNATION A ,

LAND lNVOLVED.

F CASES ONLY)

09~80175

 
     
   

D.

 

 

250 Australian Ave. South

STEVEN M. LARll‘v/l
Cl_Ef€K U. S. DlST GRE

P'r

 

(d) Check County Where Action Arose:

cl Mt’\Ml- DADE

Cl MONROE Cl BROWARD h PALM BEACH Cl MARTIN D ST.LUQ

 

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II. BAS]S OF JURISDICTION (Place an "X” in Onc Box Only) III. CITIZENSHIP OF PRINC]PAL PARTIES(Placc an “X" in One Box for l’laintiff
(For Divcrsi\y Cascs Only) and Onc Box for Dcfcndan\)
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Plaintiff (U.S. Govcrnmcn\ Not a Party) Citizen of’l`his State Cl l Cl l lncorporoted or Principal Place ¢ 4 Cl 4
ufBusin:ss ln This State
Cl 2 U.S. Governmcnt /'J 4 Diversity Citizen ofAnothcr State \J 2 vfl 2 lncorpora\ed and Principal Placc ij 5 13 5
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Citizen or Subject cfa C] 3 CJ 3 Foreign Nntion 0 6 Cl 6
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IV. NATURE OF SUIT (Place an “X" in One ch Only)
l CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES l
D 110 lnsurancc PERSONAL INJUR¥ PERSONAL lNJURY 13 610 Agriculture 13 422 Appeal 28 USC 158 0 400 State Reapportionment
El 120 Marine \J 310 Airplanc 3 362 Fcrsonal injury - C| 620 Other Focd & Drug EJ 423 Withdrawal D 410 Antitrust
ij 130 Miller Act Cl 315 Airplanc Product Med. Malpractice Cl 625 Drug Related Seizurc 28 USC 157 C| 430 Banks and Banking
Cl 140 Negotiable lnstrumcnt Liability C] 365 Personal Injury - ofl’ropcrty 21 USC 881 3 450 Commerce
13 150 Rccovcry ovaerpaymem Cl 320 Assault, Libel & Product Liobility El 630 Liquor Laws PROPERTY RIGHTS 0 460 Dcportation
& Enforcemcnt ofJudgment Slandcr 3 368 Asbestos Personal Cl 640 R.R. & Truck Cl 820 Copyrights D 470 Racketecr Influenced and
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Cl l52 Rccovcry ofDefaultcd Liability Liability ij 660 Occupational fl 840 Trademark Cl 480 Consumer Credit
Student Loans ij 340 Marinc PERSONAL PROPERTY Safety/Health 13 490 Cable/Sat TV
(Excl. Vctcrans) 13 345 Marinc Product D 370 Othcr Fraud D 690 Other CJ 810 Sclective Servicc
ij 153 Rccovery ovaerpayment Liability Cl 371 Truth in Lending LABOR SOCIAL SECURITY 13 850 S¢curities/Commodities/
ofVetcran’s Benelits Cl 350 Motor Vchicle D 380 Other Pcrsonal C] 710 Fair Labor Standards El 861 HlA (l395fi`) EXC]““!¢
Cl 160 Stockholdcrs` Suits C] 355 Motur Vehiclc Property Damage Act Cl 862 Black Lung (923) Cl 875 Customcr Challenge
tJ 190 Othcr Contract Product Liability CJ 385 Property Damagc D 720 Labor/M gmt, Rclations D 863 DlWC/DIWW (405(g)) 12 USC 3410
Cl 195 Contract Product Liability ij 360 Othcr Personal Product Liability Cl 730 Labot/Mgmt.chorting D 864 SSlD Title XVI Cl 890 Othcr Statutory Actions
g 196 Franchise lnjury & Disclosurc Act Cl 865 RSl (405(g)) C) 891 Agricultural Acts
l RFA! PROPERTY ClVIL RIGHTS PRlSONER PETITIONS Cl 740 Railway LaborAct FEDERAL TAX SUITS D 892 Economic Stabilizntion Act
Cl 210 Land Condemnatinn El 441 Vu\ing 13 510 Motions 10 Vacatc Cl 790 Other Labcr Litigatinn ij 870 Taxes (U.81 Plaintiff 13 893 Environmcntal Mat\ers
H 220 Foreclosurc D 442 Employment Sentence Cl 791 Empl. Rct. lnc. Security or Defendant) ij 894 Encrgy Allocation Act
D 230 cht Lease & chc\ment El 443 Housing/ Habeas Corpus: Act D 871 lRS~~ Third Party fl -
Cl 240 Torts to Land Accommodations 13 530 G¢n¢m] 26 USC 7609 895 FY¢¢dGm Oflllfol’mvhon Act
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445 Amer, w/Disabilities -` 462 Naturalization Under EqualAccess to Justice
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Prcceeding State Court (see VI below) Reo ened another dlsmct Liti ation Maglmate
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vl. RELATED/RE-FlLED
CASE(s).

a) Re~ftled Case Cl YES ll NO b) Rclated Cases 13 YES GNO

(See instructions
second pagc):

JUDGE DOCKET NUMBER

 

 

VlI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless
diversity):

Claim of Lien for Unpaid Services Under Contract to Irnprove Property

LENGTH OF TRIAL via 2 days estimated (for both sides to try entire case)

 

VIII. REQUESTED IN
COMPLAINT:

ABOVE INFORMATION IS TRUE & CORRECT TO
THE BES'l` OF MY KNOWLEDGE

ij CHECK lF THIS lS A CLASS ACTION DEMAND $
UNDER F.R.C.P. 23

CHECK YES only if demanded in complaint

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